                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

In the Matter of:

PATIO MARKET, INC,                               Case No. 17-52595-tjt
                                                 Chapter 11
            Debtor.                              Hon. THOMAS J. TUCKER
____________________________________/


                               FIRST AMENDED
                DEBTOR’S COMBINED DISCLOSURE STATEMENT AND
                          PLAN OF REORGANIZATION




IMPORTANT! THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT
MAY BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE DEBTOR’S
PROPOSED PLAN OF REORGANIZATION. PLEASE READ THIS DOCUMENT WITH
CARE.




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                                I. PLAN OF REORGANIZATION

         Debtor propose(s) the following Plan(s) of Reorganization (the “Plan”) pursuant to §§1121

and 1123 of the Bankruptcy Code.

                                             ARTICLE I

                                           DEFINITIONS

         As used in this Plan, the following terms shall have the meanings specified below, unless the

context requires otherwise:

         1.1    “Administrative Claim” means costs and expenses of administration of the

relevant Chapter 11 case allowed under §§503(b) and 507(a) of the Bankruptcy Code and the fees

of the United States Trustee under 28 U.S.C. §1430(a)(6).

         1.2    “Administrative Creditor” shall mean any Creditor who asserts an Administrative

Claim.

         1.3    “Allowed Claim” or “Allowed Interest” means a Claim against or Interest in The

Debtor to the extent that:

                A.      A Proof of Claim or Interest was:

                        1. Timely filed;

                        2. Deemed filed pursuant to §1111(a) of the Code; or

                        3. Filed late with leave of the Bankruptcy Court after notice and an
                           opportunity for hearing given to Debtor, and counsel for Debtor; and

                B.      The Claim is not a Contested Claim or a Contested Interest, or

                C.      The Claim is allowed (and only to the extent allowed) by a Final Order of

the Bankruptcy Court.

         1.4    “Avoidance Actions” means all claims granted the debtor-in-possession or a trustee

under §§ 544-553 of the Code.



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        1.5.    “Ballot” shall mean the official Bankruptcy Form or a document prepared to

substantially conform to same being sent to all creditors and parties-in-interest entitled to vote for or

against the Plan.

        1.6     “Bankruptcy Code” or “Code” means the Bankruptcy Reform Act of 1978, as

amended (11 U.S.C. §§101, et seq.), also known as the United States Bankruptcy Code.

        1.7     “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern

District of Michigan, Southern Division, and any court having jurisdiction over any appeals.

        1.8     “Bankruptcy Rules” or “Rules” means the Federal Rules of Bankruptcy

Procedure, and any amendments thereto. To the extent applicable, Bankruptcy Rules also refers to

the Local Rules of the U.S. District Court for the Eastern District of Michigan, as amended and the

Local Bankruptcy Rules for the Eastern District of Michigan, as amended.

        1.9     “Business Day” means any day, other than a Saturday, Sunday or “Legal Holiday,”

as that term is defined in Bankruptcy Rule 9006(a).

        1.10    “Case” means the relevant above-captioned case currently pending before the

Bankruptcy Court.

        1.11    “Claim” means any right to payment, whether or not such right is reduced to

judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, Contested, disputed,

undisputed, legal, equitable, secured or unsecured, or any right to an equitable remedy for breach of

performance if such breach gives rise to a right to payment, whether or not such right to an equitable

remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed,

secured or unsecured.

        1.12    “Class” means a class of holders of Claims or Interests described in Article III of

this Plan.

        1.13    “Confirmation Date” means the date upon which the Bankruptcy Court shall enter

the Confirmation Order in accordance with the provisions of Chapter 11 of the Bankruptcy Code.
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        1.14    “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court to

consider the confirmation of the Plan filed by Proponent.

        1.15    “Confirmation Order” means the order entered confirming this Plan by the

Bankruptcy Court pursuant to §1129 of the Code.

        1.16    “Contested Claim” means any Claim as to which The Debtor or any other party in

interest has interposed an objection or commenced an adversary proceeding in accordance with the

Bankruptcy Code, Bankruptcy Rules and this Plan, which objection has not been determined by a

Final Order.

        1.17    “Creditor” means any holder of a Claim against The Debtor.

        1.18    “Debtor” means the relevant above-captioned chapter 11 debtor.

        1.19    “Effective Date” means the 11th calendar day after the Confirmation Order

becomes a Final Order.

        1.20    “Final Order” means an Order of the Bankruptcy Court as to which (i) the time for

appeal has expired and no appeal has been timely taken; or (ii) any timely appeal has been finally

determined or dismissed.

        1.21    “Impaired” means a Claim treated under this Plan, unless the Plan:

                (a)     leaves unaltered the legal, equitable, and contractual rights to which such

Claim or Interest entitles the holder of such Claim or Interest; or

                (b)     notwithstanding any contractual provision or applicable law that entitles the

holder of such Claim or Interest to demand or receive accelerated payment of such Claim or Interest

after the occurrence of a default—

                        (1)     cures any such default (other than defaults relating to (i) any penalty

interest rate or provision arising from a non-monetary default by the Debtor; (ii) the solvency or

financial condition of the Debtor or (iii) the commencement of this Case) that occurred before or

after the commencement of the Case;
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                        (2)     reinstates the maturity of such Claim or Interest as such maturity

existed before such default;

                        (3)     compensates the holder of such Claim or Interest for any damages

incurred as a result of any reasonable reliance on such contractual provision or such applicable law;

and

                        (4)     does not otherwise alter the legal, equitable or contractual rights to

which such Claim or Interest entitles its holder.

        1.22    “Insider” shall mean a current or former director, shareholder, officer, partner,

person in control, relative of a director, officer, partner or person in control of The Debtor or a

corporation or entity in which an Insider (as defined above) of the Debtor is an Insider.

        1.22.1 “Interest Holder” means the stockholders of The Debtor as of the Petition Date.

        1.23    “Interest” means an equity interest in The Debtor as defined in §101 of the Code.

        1.24    “Interest Rate” means, unless specified, (a) with respect to Claims entitled to

interest under §506 of the Bankruptcy Code and this Plan and having an applicable contractual rate

of interest, the lowest rate of interest provided in such contract, without regard to any default by

Debtor, (b) with respect to all other Claims entitled to interest under the Bankruptcy Code and this

Plan, 5% per annum, or (c) with respect to (a) or (b) such other interest rate as may be determined

by a Final Order of the Bankruptcy Court.

        1.25    “IRS” means the Internal Revenue Service, an agency of the United States of

America, and its representatives, affiliated agencies and assignees.

        1.26    “Lien” means a charge against, or an interest in property to secure payment of a

debt or performance of an obligation.

        1.27    “New Value” means such money or money’s worth that has been paid or

contributed by the Interest Holders for the new stock of the reorganized debtor.



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        1.28    “Petition Date” means the date Debtor filed the Voluntary Petition commencing the

Case under Chapter 11 of the Bankruptcy Code.

        1.29    “Plan” means this Plan of Reorganization, as it may be altered, amended or

modified from time to time.

        1.30    “Priority Claim” means a Claim under or entitled to priority under Code §507(a) of

the Code.

        1.31    “Priority Creditor” means a Creditor who asserts a Priority Claim.

        1.32    “Professional Fees” means the fees and reimbursement for disbursements owed to

attorneys, accountants, or other professionals whose employment has been approved by the

Bankruptcy Court.

        1.33    “Reorganized Debtor” shall mean The Debtor, on and after the Effective Date.

        1.34    “Secured Claim” means a Claim secured by a Lien on property in which the estate

has an interest but only to the extent of the value of the Creditor’s interest in the estate’s interest in

the property as of the Petition Date.

        1.35    “State of Michigan” means the Michigan Department of Treasury, Michigan

Unemployment Agency or any other governmental agencies of the State of Michigan.

        1.36    “Unsecured Claim” means a Claim that is not a Secured Claim, an Administrative

Claim nor a Priority Claim.

        1.37    “Unsecured Creditor” shall mean any Creditor that holds an Unsecured Claim.




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                                            ARTICLE II

       TREATMENT OF CLAIMANTS NOT SUBJECT TO CLASSIFICATION
     OR OTHERWISE NOT REQUIRED TO VOTE FOR OR AGAINST THE PLAN

               For the purposes of approval and implementation of this Plan and the resultant

reorganization of the Debtor, Administrative Creditors and Priority Creditors shall be paid on

account of their respective Administrative and Priority Claims in accordance with the provisions set

forth below:

         2.1   GROUP I. The Claims of Group I shall consist of all Administrative Expenses,

except the claims of taxing authorities that are secured and that qualify as Administrative Expenses.

The Allowed Claims of this Group shall be paid the full amount of their Claims on such date as may

be mutually agreed upon between Debtor and the particular claimant, or, if no such date is agreed

upon, the latest of (i) the Effective Date, (ii) the date by which payment would be due in the

ordinary course of business between Debtor and such Administrative Creditor, or (iii) the date on

which the Bankruptcy Court enters its order, if necessary, approving Debtor’s payment of such

expenses. It is estimated that the only entity in this class shall be Robert Bassel, attorney for the

Debtor. It is estimated that the amount of his administrative expense shall be approximately $5,000.

         2.2   GROUP II. The Claims of Group II shall consist of all Priority Creditors entitled to

receive priority for their Allowed Claim under §507(a)(8) of the Bankruptcy Code. Debtor believes

that it owes $200,000 to the State of Michigan, and proposes to pay it over 96 months at 3.5%

interest with monthly payments of $1793.71, commencing on the Effective Date.

         2.3   GROUP III. The Claims of Group III shall consist of all other Priority Creditors

entitled to receive priority for their Allowed Claim under §507(a) of the Bankruptcy Code other

than §507(a)(8). Debtor does not believe that any such claimants exist. If they do exist, they shall

be paid in equal monthly payments over 96 months from the Effective Date at 3.5% interest per

annum.

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                                              ARTICLE III

 SPECIFICATION OF TREATMENT OF CLASSES OF CLAIMS OR INTERESTS NOT
      IMPAIRED UNDER PLAN AND THOSE IMPAIRED UNDER THE PLAN

                   The Plan divides Claims and Interests into classes and treats them as follows, all of

which are impaired unless noted:



          Debtor                Claimant             Treatment for Claims in this class

Class 1                 Chemical Bank                This class is made of Chemical Bank’s secured
                                                     claim in the amount of $247,500 [utilizing
                                                     collateral value of $250,000 less tax lien of
                                                     $2,500]. The collateral is the property located at
                                                     32240 W. Jefferson, Rockwood, MI 48173.
                                                     Payments shall be amortized at 5% interest over
                                                     200 monthly payments of $1,826.36, with a
                                                     balloon payment of the remaining balance on the
                                                     60th month. Bank shall retain its lien until its
                                                     secured claim is paid in full. The rest of its total
                                                     claim of approximately $131,500 shall be treated
                                                     as an unsecured claim. Payments shall start on the
                                                     Effective Date. Bank has a second priority lien as
                                                     to the real property located at 32240 W. Jefferson
                                                     Rockwood, MI 48173, subordinate to the real
                                                     property tax lien for the Wayne County Treasurer.


                                                     This class is impaired.

Class 2                 General Unsecured            This class, which appears to be made up of the
                        Claims                       deficiency claim of Chemical Bank in the
                                                     approximate amount of $131,500 shall be treated
                                                     as a general unsecured claim, and paid at 10% in
                                                     240 equal monthly installments, commencing on
                                                     the Effective Date, without interest.

                                                     The monthly plan payment for this class shall be
                                                     $54.71 per month until the claims in this class are
                                                     paid in full.

                                                 This class is impaired.
Class 3                 Class of Equity Security See below
                        Holders


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Class 4              Wayne County /Charter        The claimants in this class, with respect to the
                     Township of                  unpaid real property tax in the amount of $2,500,
                     Brownstown                   which is a secured claim, shall be paid its claim
                                                  over 5 monthly installments at 12% interest.

                                                  The collateral is the property located at 32240 W.
                                                  Jefferson, Rockwood, MI 48173. Wayne
                                                  County/Brownstown has first priority, and
                                                  Chemical Bank has second priority.

                                                  The monthly payment for this class shall be
                                                  $515.10 per month until the claims in this class are
                                                  paid in full.

                                                  Upon the failure of the Debtors to make any
                                                  payment due on a Secured or Priority Claim to the
                                                  Treasurer, which is not cured within 30 days of the
                                                  mailing of the written notice of default by the
                                                  Treasurer, the Treasurer may exercise all rights and
                                                  remedies applicable under non-bankruptcy law for
                                                  the collection of its entire claim without seeking
                                                  relief from this Court. Claimants in this class shall
                                                  retain their lien until the claims in this class are
                                                  paid in full.

                                                  Payments shall start on the Effective Date.

                                                  This class is impaired.
Class 5              Roy Livengood                The claimants in this class, with respect to the
                                                  purchase money security interest in the coolers,
                                                  cameras, and shelving, in the amount of $4,452.00,
                                                  which is a secured claim, shall be paid over 24
                                                  monthly installments of $100 per month with no
                                                  interest. The value of this collateral is
                                                  approximately $4,452. Claimants in this class shall
                                                  retain their lien until the claims in this class are
                                                  paid in full. Claimant shall receive
                                                                  a balloon payment on 25th month.
                                                  Payments shall start on the Effective Date.

                                                  This class is impaired.



The claims and interests of the equity holder(s) shall be treated in one of two alternative methods, to

the extent applicable:


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                    A. If all impaired classes of Creditors vote to accept the Plan, then the rights of
                       the Interest Holders shall remain the same. This Class shall not be Im-
                       paired.

                    B. If any class of Creditors vote to reject the Plan or if the Bankruptcy Court
                       requires, for any reason, that New Value be provided to the Debtor, the
                       Interests of the Debtor shall be canceled and new Interests shall be reissued
                       to the Interest Holders upon the investment by the Interest Holders of New
                       Value, or those purchasing the Debtor’s equity in the auction contemplated
                       by this Plan. This Class shall be Impaired.


                                     ARTICLE IV
                        EXECUTION AND IMPLEMENTATION OF THE PLAN

        4.1     Funding of the Plan: Debtor reasonably believes that its future operations will

generate sufficient funds to satisfy its obligations under the Plan. To the extent that additional funds

are necessary, third parties may provide such funds to the Reorganized Debtor. Other sources of

cash may be explored and utilized by the Reorganized Debtor to the extent that such cash infusions

are necessary to meet the obligations of the Plan.      Debtor may also sell all of its assets or a portion

of its assets to fund its obligations under the plan.

        4.2     Refinancing/Financing:           If necessary, the Reorganized Debtor may, in its sole

discretion, seek to obtain refinancing from either a lending institution or from other sources in an

effort to satisfy the necessary cash payments described in this Plan.             In the event that the

Reorganized Debtor obtains such financing, it shall not obligate the Reorganized Debtor to

accelerate any of the payments or obligations set forth in this Plan. There shall be no prepayment

penalty regarding plan payments.

        4.3     Auction:

                4.3.1   If all impaired classes of claims vote to accept the Plan of Reorganization,

then Debtor shall fund the obligations of the Plan as indicated above.

                4.3.2   If any class of impaired claims votes to reject the Plan, then Debtor will

proceed with an auction of the Interests of the Reorganized Debtor. Any new value contribution

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shall be used for working capital and to pay operating and plan expenses, but not to any

payments to any insiders. Debtor will proceed with an auction of the Interests of the Reorganized

Debtor on the sixtieth day after the confirmation hearing at 10:00 a.m., which may be adjourned by

the Court or Debtor. The auction of the Interests shall occur at the offices of Robert N. Bassel at

25925 Telegraph Rd Ste 203, Southfield, MI 48033. It is contemplated that the auction shall take

place prior to entry of the Confirmation Order. Debtor shall retain a broker to market the equity

interests if the Court determines that a new value auction is required. Debtor shall also provide

notice of the auction by publishing notice in the Detroit Free Press or the Detroit News.

               4.3.3   The following terms and conditions shall apply to The Debtor’s

consideration of any offer to be made at the auction:

                       1.      Any person including any Creditor in this Case or other party,
                               including any Interest holder of Debtor, who wishes to make a cash
                               offer for all of the Interests in the Reorganized Debtor, shall notify
                               the Debtor’s counsel Robert N. Bassel, 25925 Telegraph Rd Ste 203,
                               Southfield, MI 48033, in writing of its intent to make an offer no
                               later than two Business Days prior to the date of the auction. At the
                               time of giving such notice, such party or parties, including any
                               Interest holder, shall tender a bank check in the amount of $5,000,
                               which amount shall be held by the Debtor’s counsel in escrow as a
                               deposit to be applied to the payment of the amounts due under the
                               Equity Contribution Agreement. The remaining amount of the bid
                               shall be paid within 30 days after the Auction Date.

                       2.      Such deposit shall be immediately refunded to any party, including
                               any Interest holder, which shall not be the successful bidder for the
                               Interest. The failure to give the required notice, or failure to provide
                               the foregoing deposit shall constitute a waiver by any party in
                               interest or the Interest holder of its right to bid at the auction.

                       3.      In addition to any cash paid as the result of the auction, which cash
                               shall be fully paid on or before 30 days after the Auction Date, to be
                               held in escrow by the Debtor’s attorney, the successful purchaser
                               shall:

                                   a. be required to execute the Equity Contribution
                                      Agreement, attached; and

                                   b. as the Interest holder of the Reorganized Debtor,
                                      acknowledge that the Reorganized Debtor shall be bound
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                                      by all of the obligations and payment terms as set forth in
                                      the Plan.

                        4.     The Debtor reserves the right, in its reasonable business judgment, to
                               set such other terms of conditions of bidding (provided that such
                               terms and conditions are provided to all bidders prior to the
                               commencement of auction), at the auction.

                        5.     Except for provided herein, all bids must be for cash in the currency
                               of the United States of America, on the terms and conditions set forth
                               in the Equity Contribution Agreement. No credit bids shall be
                               permitted. The initial bid shall be $5,000 and bidding shall be in
                               $1,000 increments.

                        6.     At the conclusion of the bidding, if any, Debtor shall announce the
                               successful highest bid. In the event that the successful bidder fails to
                               immediately execute and deliver to Debtor the Equity Contribution
                               Agreement, the failure to provide that agreement shall constitute a
                               waiver of such party’s bid and the next and highest successful bidder
                               shall be deemed the successful bidder.




       4.4       Avoidance Actions: On the Confirmation Date, the Avoidance Actions of The

Debtor shall vest in the Reorganized Debtor. It does not appear, however, that any such Avoidance

Actions exist.

       4.5       Pre-payment: The Reorganized Debtor may, but shall not be obligated to, pre-pay

any of the claims at any time in its sole, absolute and unfettered discretion. If the Reorganized

Debtor elects to pre-pay any obligation, it shall not incur any pre-payment penalty, any such pre-

payment penalty contained in any pre-petition contract, agreement or document shall not apply.

       4.6       omitted

       4.7       omitted



                                           ARTICLE V




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                                 EFFECT OF CONFIRMATION

       5.1     Discharge: The confirmation of this Plan shall, and does hereby act to discharge

and release the Claims of all Creditors against The Debtor, which shall constitute a full, total and

complete settlement with said Creditors and Interest Holders. Confirmation shall also act as a

merger and relinquishment of any and all Claims that Creditors have or may have against The

Debtor as provided in the treatment of the Creditors in Articles II and III. The Debtor shall receive

a discharge as contemplated by 11 U.S.C. §§524 and 1141 upon confirmation of the Plan, such

discharge being as broad and all-inclusive as provided by law.

       5.2     Waiver: Confirmation shall also constitute a waiver by Creditors of any right that

they may have, unless supported by a written guarantee or provided by a federal or state statute to a

taxing authority, to seek to enforce their Claims against any Insider, whether pursuant to an “alter

ego” claim, a claim for “piercing” Debtor’s or the Reorganized Debtor’s corporate existence, or

other similar claim.

       5.3     Financing and Capital Contributions: There shall be no prohibition against the

Reorganized Debtor merging, issuing additional stock or being acquired by another person,

company, partnership or corporation, or obtaining any financing from any lender willing to provide

any financing. The obtaining of financing shall not obligate the Reorganized Debtor to make any

earlier payments or distribution except as may be provided in the Plan.

       5.4     In the event of a conversion of the Case to a case under Chapter 7 of the Bankruptcy

Code, all property of The Debtor, the debtor-in-possession or the Reorganized Debtor, including all

property that will revest in the Reorganized Debtor pursuant to confirmation of the Plan and all

property acquired by the Reorganized Debtor subsequent to confirmation of the Plan, shall be

property of the relevant Chapter 7 estate.




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                                            ARTICLE VI

                                MODIFICATION OF THE PLAN

        6.1    Debtor(s) may, from time to time, propose amendments or modifications of this Plan

prior to its confirmation, without leave of the Court.            After confirmation, The Debtor or

Reorganized Debtor may, with leave of the Bankruptcy Court, and upon notice and opportunity for

hearing to the affected Creditor(s) and any committee appointed by the Office of the U.S. Trustee

only, remedy any defect or omission, reconcile any inconsistencies in the Plan or in the Order of

Confirmation or otherwise modify the Plan.

        6.2    If the Bankruptcy Court determines that the modification affects all the Creditors, or

if the Debtor(s) proposes a material modification affecting all Creditors, then such modification

shall be governed by §1127 of the Bankruptcy Code and the Plan.

                                           ARTICLE VII

                                JURISDICTION OF THE COURT

               This Court shall retain jurisdiction in this matter until the Plan has been fully

consummated including, but not limited to, the following reasons and purposes:

               A.      The classification of the Claim of any Creditor and the re-examination of

Claims which have been allowed for purposes of voting, and the determination of such objections as

may be filed to Claims of Creditors. The failure by the Debtor or the Reorganized Debtor to object

to, or to examine any Claim for the purposes of voting, shall not be deemed to be a waiver of any

right to object to, or reexamine the Claim in whole or in part.

               B.      The determination of all questions and disputes regarding title to the assets of

the estate or Debtor, and all causes of action, controversies, disputes, or conflicts, whether or not

subject to action pending as of the Confirmation Date, between the Debtor or the Reorganized

Debtor or any other party. This shall include, but not be limited to, any cause of action, avoiding

power or right of the Debtor or the Reorganized Debtor to recover assets pursuant to the provisions
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of the Bankruptcy Code, including, without limitation, Avoidance Actions and claims initiated

under §§506 and 510 of the Bankruptcy Code.

               C.      The correction of any defect, the curing of any omission or the reconciliation

of any inconsistency in this Plan or the Order of Confirmation as may be necessary to carry out the

purposes and intent of this Plan.

               D.      The modification of this Plan after confirmation pursuant to the Bankruptcy

Rules and the Bankruptcy Code and as provided as in the Plan.

               E.      The enforcement and interpretation of the terms and conditions of this Plan

and the entry of orders in support of confirmation of this Plan.

               F.      The entry of any order, including injunctions, necessary to enforce the title,

rights, and powers of Debtor, the Reorganized Debtor or any party-in-interest, and to impose such

limitations, restrictions, terms and conditions of such title, rights and powers as this Court may

deem necessary, including without limitation, injunctions to enforce releases or forbearance in favor

of guarantors, which would assist the Reorganized Debtor to accomplish its obligations under the

Plan.

               G.      The review and approval of all professional fee applications for services

rendered prior to the Confirmation Date and the review of any professional fees for services

rendered in connection with the Plan after the Confirmation Date, to the extent that the Debtor or the

Reorganized Debtor dispute all or a portion thereof.

               H.       The entry of an order concluding and terminating this Case.

                                           ARTICLE VIII

                                      TITLE TO PROPERTY

        8.1    Title to the property of the Debtor(s) shall vest in the Reorganized Debtor upon the

final payment to be made under the Plan, and the automatic stay shall remain in effect until that

time. Notwithstanding this, the Debtor(s) shall be discharged from its status as Debtor and the
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affairs and business of the Reorganized Debtor shall thereafter be conducted without Court

involvement except as may be governed by the Plan.

                                           ARTICLE IX

                               UNITED STATES TRUSTEE FEES

       9.1      The Debtor(s) shall continue to pay to the United States Trustee the appropriate

sums required pursuant to 28 U.S.C. §1930(a)(6) until such time as the Chapter 11 Case is closed

by the Court.

                                            ARTICLE X

                                  EXECUTORY CONTRACTS

       10.1     Unless addressed in Article III of this Plan or otherwise assumed or rejected by Final

Order of the Bankruptcy Court, all executory contracts of The Debtor either (i) not expressly

rejected or (ii) which are not within thirty (30) days after the Confirmation Date the subject of

pending applications to reject and disaffirm, shall be deemed assumed. Within thirty (30) days after

the Confirmation Date, the Reorganized Debtor shall be allowed to file a Notice of Rejection of

Executory Contract (the “Notice”) with the Bankruptcy Court and the executory contract which is

the subject thereof shall thereupon be rejected. In connection with any executory contracts that are

assumed, absent a provision to the contrary, the Debtor(s) shall be permitted to pay Claims arising

from executory contracts that existed as of the Petition Date in 36 equal, monthly installments

beginning one month after the Effective Date.

       10.2     Any Creditor who has a Claim as a result of such rejection shall have thirty (30)

days after receipt of the Notice to file a Proof of Claim, failing which such Claim shall be

disallowed in its entirety. The Notice shall contain a provision informing any potential creditor of

this requirement and shall be served on such potential creditor(s).

                                           ARTICLE XI

                                   OBJECTIONS TO CLAIMS
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       11.1.   Debtor(s) and/or the Reorganized Debtor(s) and parties in interest may object to the

allowance of any Claim, whether listed on the schedules filed by The Debtor or filed by any entity.

No time limit for such objections is being created by this Plan

                                           ARTICLE XII

                                 LIMITATION OF LIABILITY

       12.1    The Debtor(s), the Reorganized Debtor(s) and all of its directors, officers and

agents, including its counsel, accountants, consultants and/or employees, shall not be liable to

The Debtor, the Reorganized Debtor, any Creditor or Interest Holder of the Debtor or the

Reorganized Debtor, or any other entity for any action taken or omitted to be taken in connection

with their respective actions or duties in the Case or under this Plan, except that such liability

may be imposed for willful misconduct. The Bankruptcy Court shall have exclusive jurisdiction

to resolve any questions concerning any such liability.

                                          ARTICLE XIII

                               MISCELLANEOUS PROVISIONS

       13.1.   Notwithstanding anything in this Plan to the contrary, neither Debtor nor the

Reorganized Debtor shall be obligated to make any payments towards any Contested Claim.

Further, neither Debtor nor the Reorganized Debtor shall be required to make any payments for an

Allowed Claim to any Creditor if the Debtor or the Reorganized Debtor have filed a motion,

objection, adversary proceeding, state court proceeding or other similar notice against such Creditor

alleging an objection, claim, cause of action, offset or counter-claim, such that if sustained and not

paid by such Creditor would result in a disallowance of such Allowed Claim in accordance with

§502(d) of the Code.

       13.2.   The Debtor(s), the Reorganized Debtor and all parties-in-interest, including without

limitation any Creditor, shall be required to execute any document reasonably requested by the other

to memorialize and effectuate the terms and conditions of this Plan. This shall include without
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limitation any execution by The Debtor of UCC financing statements and the execution by creditors

of any UCC termination and mortgage releases and termination.            Unless a lien is expressly

preserved in this Plan, as amended, or Order Confirming Plan, it shall be void and of no effect.

        13.3. This Plan and the Confirmation Order shall inure to the benefit of, and be binding

upon, all parties in interest and their respective successors and assigns.

        13.4    When the Debtor(s) or the Reorganized Debtor has made all payments and

obligations required under this Plan all restrictions, negative covenants and other limitations on

the Debtor’s operations provided herein or in the Confirmation Order shall terminate.

        13.5    The Reorganized Debtor(s) shall have the right to commence, continue, amend or

compromise all causes of actions available to The Debtor(s), the bankruptcy estate(s) or the

debtor(s) in possession, whether or not those causes of action were the subject of a suit as of the

Confirmation Date, including but not limited to actions to collect receivables owed to the Debtor.

The Reorganized Debtor(s) specifically reserves its right to commence, continue, amend or

compromise all causes of action, whether or not described in the Disclosure Statement.

        13.6    Upon the failure of the Debtor(s) or Reorganized Debtor to make any payment

due on a secured or priority tax claim which is not cured within fifteen days of the mailing of a

written notice of default by the creditor, such creditor may exercise all rights and remedies

available under non-bankruptcy law for the collection of its entire claim and/or seek appropriate

relief in this Court.

        13.7    For purposes of clarification, the Reorganized Debtor shall have the right to

challenge any Claim through the claims objection process set forth in this Plan, which challenge

may include but is not be limited to a challenge to any penalty portion of such Claim, the amount

and the value of the property which forms the basis for any assessment of taxes and the

computation of the tax. The right to challenge these claims shall include, without limitation, an



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objection to the assessment of the Debtor’s property that may or may not have been made by the

respective taxing authority.

                                  DISCLOSURE STATEMENT

                                II. DESCRIPTION OF DEBTOR

       Debtor is a Michigan corporation which owns and operates a convenience store and the

real estate upon which it operates at 32240 W. Jefferson Rockwood, MI 48173.

A.     The Debtor-In-Possession

               On 9/7/2017 (the “Petition Date”), Debtor filed a Voluntary Petition under

Chapter 11 of Title 11 of the United States Code, §§101 et. seq. in the United States Bankruptcy

Court for the Eastern District of Michigan, Case No. 17-52595. This Case was assigned to the

Honorable Thomas J. Tucker. Upon filing the petition for Chapter 11 reorganization, the Debtor

became a “Debtor-in-Possession” as that term is understood in the Bankruptcy Code.

       B.      Debtor’s Principals and Management

       Background

       George Shammas is the chief reorganization officer of the Debtor. He is 68 years old, has

been in the real estate and convenience store business since 1978, has a bachelors degree in

literature, and has had an ownership interest in Debtor since 2000. Debtor is owned by 3 people,

each of whom have filed individual chapter 13 bankruptcies which have been confirmed and fully

consummated:

George Shammas
38420 Kingsway court
Rockwood, MI 48173
33.341668%

Yassin Selman
7370 Verona Drive
West Bloomfield, MI 48322
33.329166%

Atheer Shina
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6711 Raven
Farmington, MI 48332
33.329166%


        Pursuant to the confirmed chapter 13 bankruptcies, the shareholders’ liability, if any, to

Chemical Bank, has been discharged.

        Mr. Shammas manages day to day operations of the Debtor without salary because there is

not enough money to pay him. Upon confirmation, Mr. Shammas will retain his position.

        Compensation

        It is contemplated that postpetition, Mr. Shammas will not receive salary, and Mr. Selman

will continue to receive a salary of approximately $200 per week, which he has received for the year

prior to bankruptcy and postpetition. He does not receive any benefits. Mr. Shammas has not

received a salary for the year prior to the petition, nor postpetition. Distributions to shareholders

will only be paid to the extent of available funds. It is contemplated that postpetition, Mr. Shammas

will receive no salary but Mr. Selman will continue to receive $200 per week in salary without

benefits.

        Legal Relationships

        See Section III. D. for details regarding insider transactions.

        C.      Description of Debtor’s Business and Causes for Chapter 11 Filing

        Debtor owns and operates a convenience store and the real estate upon which it operates in

Rockwood, Michigan.        Debtor’s chapter 11 filing was caused by the economic downturn in the

economy and the decreased disposable income of its customers, and a competitor which is now out

of business.   Debtor’s business is fairly strong, however. Debtor believes that it will be able to

reorganize its business.

        Prepetition, Debtor had a lending/borrower relationship with Chemical Bank and its

predecessors. Specifically,

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       A. On May 31, 2007, Debtor executed a promissory note in the amount of $665,000.00
          (“Note 1”) and on November 26, 2008 Debtor executed a second promissory note in
          the amount of $135,000.00 (“Note 2”) (collectively “Notes”), in favor of Oakland
          Commerce Bank as predecessor to Chemical Bank, successor by merger to Talmer
          Bank and Trust, successor in interest to Talmer West Bank, formerly known as
          Michigan Commerce Bank, successor by consolidation to Oakland Commerce Bank
          (“Bank/Lender”). (Note: Notes were subsequently modified by the Confirmation
          Order in Debtor’s previous bankruptcy, Case No.: 11-52851-tjt).

       B. To secure repayment of the loans evidenced by the Notes, Debtor executed two
          Security Agreements (“the Security Agreements”)each granting Lender a first-
          priority, security interest and liens in all of its assets, including without limitation, its
          equipment, inventory, accounts, securities, instruments, and general intangibles.
          Lender perfected its interest by filing UCC-1 and continuation statements.

       C. To secure repayment of the loans evidenced by the Notes, Debtor granted Bank a
          mortgage on the real property commonly known as 32234-40 W. Jefferson,
          Rockwood, MI 48173

       D. As of the Petition Date, the principal and interest amounts owed on Note 1 by Debtor
          to Bank was $ 379,895.78. Debtor does not believe that it owes any other monies to
          Bank.


                   III.    POST-PETITION EVENTS OF SIGNIFICANCE

       A.      Post-Petition Transfers Outside the Ordinary Course of Business

       Debtor has made no post-petition transfers outside the ordinary course of business.

       B.      Chapter 11 Events

       This Disclosure Statement is not designed to provide a full, detailed description of the

motions filed and orders entered or other developments in the bankruptcy proceeding. Further, the

Disclosure Statement does not address every motion filed or order entered in the proceeding.

Rather, the Disclosure Statement merely provides a summary of the major motions filed or orders

entered. Creditors are urged to review the bankruptcy court docket, which lists every document

filed in the bankruptcy case, and the bankruptcy court file, which contains all of the filed

documents.

       Cash Collateral and Adequate Protection and Postpetition Financing Orders



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       Debtor filed an application for the use of cash collateral. An interim cash collateral order

was entered as indicated below

                           19      Interim Order Granting Debtor's Use of Cash Collateral
                           (7 pgs) Under 11 USC 363, Granting Adequate Protection Under 11
                                   USC 363, and Scheduling a Final Hearing Under Federal
                                   Bankruptcy Rule 4001(c) (RE: related document(s)8 Chapter
                                   11 First Day Motion to Use Cash Collateral filed by Debtor In
                                   Possession Patio Market, Inc.). Hearing to be held on
                                   10/18/2017 at 11:00 AM Courtroom 1925 for 8, (Cotton, N)
09/20/2017                         (Entered: 09/20/2017)



on 09/25/2017 at Docket # 19, which became a final order on 10/18/2017 as indicated below:

                                 Minute Entry. Hearing Held; No Objections Filed; Interim Order
                                 Becomes Final Order. (related document(s): 8 Chapter 11 First
                                 Day Motion to Use Cash Collateral filed by Patio Market, Inc.)
10/18/2017                       (mvozn) (Entered: 10/18/2017)



The key terms of the Order follow:



       “3. On account of Debtor’s use of Cash Collateral and the imposition of the automatic stay
       pursuant to 11 USC 362, Chemical Bank is granted the following adequate protection
       pursuant to 11 USC 361 and 362(c)

       a) Chemical Bank’s first priority liens against and security interest in all assets of the
          Debtor, including Cash Collateral, are ratified and confirmed and shall continue in full
          force and effect, subject to any liens with priority under nonbankruptcy law;

       b). Debtor will make monthly adequate protection payments of $1,800.00 to Chemical
       Bank beginning September 25, 2017 and continuing on the twenty-fifth day of every month
       thereafter so long as Debtor is authorized to use cash collateral absent further Court Order .
       Payment default shall occur if payment is not made on or before the due date. Chemical
       Bank shall be permitted to apply the monthly payments to the principal, interest or expense
       owing under the indebtedness in an order determined by Bank.

       c). Chemical Bank is granted a general continuing and replacement postpetition, first-
       priority, security interest in and lien on the same types of property in which Bank was
       granted a security interest in the Security Agreements, including, without limitation,
       Debtor’s equipment, inventory, accounts, securities, instruments, general intangibles,
       proceeds, products, offspring, and to the extent Chemical Bank has a perfected security
       interest in the particular prepetition assets, in the same priority as existed prepetition, to the
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       extent the value of such creditor’s interest in cash collateral is diminished, pursuant to 11
       USC §§ 361 and 552.

       All liens and security interests in favor of Chemical Bank, whether now existing or granted
       under the terms of this Order are in addition to, and not in substitution for, its existing
       security interests and liens and shall be deemed to have been filed and perfected at the time
       and on the date of entry of this Order, and the entry of this Order shall constitute perfection
       of such liens and security interests, without reliance of the filing of any financing statements
       or recordings of any documents or other act or filing. “


        Debtor is operating pursuant to the following budget, and secured claimants have been

granted a replacement lien. The cash collateral order is the only postpetition financing order.

   PATIO MARKET
    projected budget                        Monthly
 (amounts are prorated)

 Sales & Commissions                                    $73,200.00
 Less Cost of Goods                                     $60,400.00
 Gross Profit                                           $12,800.00

 USTrustee Fees                                            $320.00
 Bookkeeping                                              $200.00
 Bank & CC Charges                                       $1,100.00
 Insurance                                                $560.00
 Licenses                                                 $150.00
 Alarm                                                      $40.00
 Postage                                                    $65.00
 Repairs                                                  $200.00
 Supplies                                                 $180.00
 Telephone                                                $180.00
 Utilities                                               $1,700.00
 Salaries                                                $3,665.00
 Real Estate Taxes                                        $840.00
 Personal Property Tax                                      $50.00
 Total Operating Exp                                     $8,930.00

              NET PROFIT                                 $3,870.00

       Motions for Relief from Stay

       n.a.

       Motions regarding executory contracts

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        n.a.

        The Plan and Disclosure Statement

        Debtor filed its Combined Disclosure Statement and Plan of Reorganization. The Debtors

believes that its Plan of Reorganization is feasible, as demonstrated by the projections. Accordingly,

the Debtor is extremely confident in its ability to meet the projections and satisfy claims under the

Plan.

        C.     Pending and Contemplated Litigation Involving Debtor

        There is no pending or contemplated litigation involving the Debtor. The Debtor reserves

the right to sue any entities who fail to pay receivables owed to the Debtor.

        D.     Insider Transactions

               There have been no insider transactions.

        IV.         ASSETS AND LIABILITIES

        A.     Liquidation Analysis

        Debtor(s)’ Liquidation Analysis accompanies this Plan and Disclosure Statement. Debtor

believes that the value of property is approximately $255,000 for purposes of confirmation based

upon the experience of the Debtor’s principals in the convenience store and real estate industry.

               In the event that the Plan is not accepted by the Creditors or is not otherwise

confirmed by the Bankruptcy Court, the Debtor believes that its assets would be liquidated either:

               1.      Pursuant to a plan of liquidation under Chapter 11 of the Code; or,

               2.      In a straight bankruptcy liquidation under Chapter 7 of the Code.

        Under either alternative, the operations of the Debtor would cease, as Debtor would only

realize the liquidation value of its assets. Debtor is confident that in a liquidation scenario, where

the Debtor will be unable to generate any income going forward, unsecured creditors will not do

better in a chapter 7 liquidation than in a chapter 11 bankruptcy.

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Eastern District of Michigan
Claims Register
17-52595-tjt Patio Market, Inc.

Judge: Thomas J. Tucker          Chapter: 11
Office: Detroit                  Last Date to file claims:
Trustee:                         Last Date to file (Govt):
Creditor:       (24946290)                                     Claim No: 1                                Status:
Chemical Bank                                                  Original Filed Date: 09/29/2017            Filed by: CR
c/o Lana Escamilla                                             Original Entered Date: 09/29/2017          Entered by: Lan
7950 Moorsbridge                                                                                          Modified:
Suite 400, Office 3
Portage, MI 49024
 Amount claimed: $379692.82
 Secured claimed: $350000.00
History:
Details          1-1     09/29/2017 Claim #1 filed by Chemical Bank, Amount claimed: $379692.82 (Escamilla,
Description: (1-1) Money Loan Secured by Mortgage, All Asset lien
Remarks:


Creditor:      (24946293)                                     Claim No: 2                               Status:
Wayne County Treasurer                                        Original Filed Date: 10/03/2017           Filed by: CR
400 Monroe, 5th Floor                                         Original Entered Date: 10/03/2017         Entered by: Rhon
Detroit, MI 48226                                                                                       Modified:
 Amount claimed: $2591.67
 Secured claimed: $2591.67
History:
Details          2-1     10/03/2017 Claim #2 filed by Wayne County Treasurer, Amount claimed: $2591.67 (Bra
Description: (2-1) REAL ESTATE TAX - 32234 W JEFFERSON AVE., BROWNSTOWN, MI
Remarks: (2-1) 12% YEARLY INTEREST PURSUANT TO MCL211.59 AND MCL211.78a; 18% YEARLY I
YEARS PURSUANT TO MCL211.78g


        Pursuant to the filed and scheduled proofs of claim, to which Debtor does not stipulate, there

are secured claims equal to the value of the collateral, e.g. approximately $255,000 and unsecured

claims of approximately $475,000 [including the deficiency amounts for the entities holding

prepetition security interests]. Debtor believes that its Plan is fair and equitable to creditors and it is

in creditor’s best interest to vote in favor of the Debtor’s Plan.

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        B.      Risks, Conditions and Assumptions In Liquidation Analysis

Debtor has used fair market value and forced sale/auction value to determine the value of its assets.

The risks, conditions and assumptions are outlined in the Liquidation Analysis. Debtor asserts that

under any such scenario, unsecured creditors will receive no payments on their claims.

        C.      Causes of Action

                At this time, Debtor(s) is planning to file no lawsuits against any entities.

        D.      Priority and Secured Claims and Administrative Expenses

 Based on a review of the Claims Register, it appears that there are no priority claims. It is

estimated that the only unpaid administrative expense at the time of confirmation will be Robert

Bassel, attorney for the Debtor. It is estimated that the amount of his administrative expense

claim will be approximately $5,000. Based on Debtor’s belief as to the value of the collateral,

there are secured claims in the amount of $255,000 approximately.

        E.      Unsecured Claims

        It appears that there are approximately $475,000 in unsecured claims for Debtor, including

the deficiency claims.

        F.      Guaranteed Debt

                It appears that the Chemical Bank debt was guaranteed by the 3 shareholders of

Debtor, or they are co-obligors, however, the claims against the shareholders were discharged in the

prior chapter 13 bankruptcies filed by each shareholder.

                             VI.     IMPLEMENTATION OF PLAN

        A. Summary of Plan Treatment.

        See plan treatment above in Plan Articles II and III.

        For purposes of clarification, it appears that the following entities have priority as to the

following collateral, with respect to the indicated priority and regarding the indicated amount of

their secured claims and their unsecured claims.
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Collateral        Claimant             Priority          Claim          Secured    Unsecured
                                                                        Portion of Portion of
                                                                        Claim      Claim
32240      W.     Wayne                1st               2500           2500       0
Jefferson,        County/Brownstown
Rockwood,
MI 48173 and
contents
32240       W.     Chemical Bank       2nd               379,000        247,500      [total
Jefferson,                                                                           unsecured
Rockwood, MI                                                                         claim     is
48173      and                                                                       131,500]
contents      ;
approx. value
$250,000
Personal           Roy Livengood       1st [assuming 4500               4500         0
Property                               Wayne
subject     to                         County paid
purchase                               from       real
money security                         estate
interest                               collateral




       B.     Financial Information

              The information contained in this Disclosure Statement has not been subject to a

certified audit. The information has been compiled from the records of Debtor and is true and

accurate to the best of Debtor’s knowledge, information and belief. The information is also based

on an income projections performed by Debtor.



              Projections

              Accompanying this Disclosure Statement are cash flow projections compiled by

Debtor which cover the time period in which Debtor proposes to effectuate payments under the

Plan. Since the cash flow projections are based on estimates and assumptions which are inherently

subject to uncertainty and variation depending upon evolving events, neither the Debtor, nor its


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principals nor its management warrant that the results reflected in the cash flow projections will be

achieved.

               These cash flow projections indicate that Debtor will generate a positive cash flow

going forward sufficient to meet all of its obligations to creditors under the Plan (where the pro

formas indicate operating at a deficit, Debtor will receive funds from third parties). The projections

give an example of the payments required to be made under the Plan and demonstrate how the

distributions to creditors will affect Debtor’s cashflow. The increases in revenue and expenses set

forth in the projections are based upon current market conditions, historical growth and anticipated

growth. Where there is a conflict between the terms of the Plan and the projections, the terms of the

Plan shall control. The projections are being provided for illustrative purposes.

               A summary of Debtor’s financial information relating to the Debtor’s post-petition

operations also accompanies this plan.

               A summary of Debtor’s financial condition prior to the commencement of Debtor’s

bankruptcy proceeding also accompanies the plan.

         C.    Post-Petition Details

               Debtor proposes to continue its operations with the same management structure. It

is contemplated that George Shammas, who is the day to day manager of the Debtor, shall receive

no wages nor benefits. Distributions to shareholders will only be paid to the extent of available

funds.

         D.    Explanation of Auction Procedures

         Debtor takes the position that the best way to determine the market value of the

Reorganized Debtor (i.e., the value of the company after a plan is confirmed) is to conduct an

auction sale to bid for the equity interest of the Reorganized Debtor. Debtor asserts that such an

auction will satisfy the legal requirements for “cramdown” (i.e., to force the confirmation of the



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Plan over the objections of creditors). Accordingly, this section is designed to describe to

creditors how the auction sale set forth in the Plan will work.

       If any class of Creditors votes to reject the Plan and if any new value contribution by

Debtor’s principals is found to be insufficient, then the Debtor will proceed with an auction of the

Interests of the Reorganized Debtor on the sixtieth day after confirmation at 10:00 a.m., which may

be adjourned by the Court or Debtor. The auction of the Interests shall occur at the offices of

Robert N. Bassel, 25925 Telegraph Rd Ste 203, Southfield, MI 48033. If the Plan has been accepted

by all classes of Creditors, then the auction shall be cancelled. This is because a cramdown of a

Class of Creditors will not be necessary as the Plan has been accepted by each class. If an impaired

Class of Creditors votes to reject the Plan and new value is required to satisfy the absolute priority

rule, the auction will proceed. It is contemplated that a Confirmation Order shall not be entered

prior to the auction. If a new value auction is required, Debtor shall hire a broker to market the

equity interests and shall publish notice of the auction in the Detroit News or Detroit Free Press.

       At the auction sale, if one takes place, persons including Creditors and parties in interest

shall have the opportunity to bid for the equity interest in the Reorganized Debtor. In other

words, interested parties shall have the opportunity to purchase the equity or ownership of the

Reorganized Debtor upon confirmation of the Plan. Any Creditor or any other party (including

any insider or Interest holder who bids) or prospective purchaser who is the successful highest

bidder will be bound by all of the obligations set forth in the Order Confirming Plan and the

Plan. For example, the successful bidder will be allowed to utilize the assets of Debtor, but must

recognize that the assets of the Debtor are subject to the payment obligations under the Plan.

Credit bids will not be allowed

       Any party or party in interest in this Case, including any Interest holder of Debtor, who

wishes to make a cash offer for all of the Interests of the Reorganized Debtor, shall notify the

Debtor’s counsel in writing of its intent to make an offer no later than two Business Days prior to
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the date of the auction sale. At the time of giving such notice, such party or parties, including any

Interest holder, shall tender a bank check in the amount of $5,000.00, which amount shall be held by

the Debtor’s counsel, in escrow, as a deposit to be applied to the payment of the amounts due under

the Equity Contribution Agreement.

        Such deposit shall be immediately refunded to any party in interest or Interest holder that

shall not be the successful bidder for the Interest. The failure to give the required notice, or failure

to provide the foregoing deposit shall constitute a waiver by any party in interest or the Interest

holder of its right to bid at the auction.

        In addition to any cash paid as the result of the auction, which cash shall be fully paid on or

before 30 days after the Auction Date to be held in escrow by the Debtor’s attorney, the successful

purchaser, including the Interest holder if it is the successful purchaser, shall be required to execute

the Equity Contribution Agreement attached and shall become the Interest holder of the

Reorganized Debtor.

        At the conclusion of the bidding, if any, The Debtor shall announce the successful highest

bid. Upon confirmation of the Plan, the proceeds from the auction sale shall be used for working

capital, plan and operating expenses, but not for payments to insiders.

        E.      Tax Ramifications

             1. To Debtor

                Debtor believes that the forgiveness of indebtedness which may result from a

discharge granted by the confirmation of the Plan will not result in any significant adverse tax

consequence to the Debtor.

             2. To Creditors

                The tax consequences to each Creditor resulting from confirmation of the Plan may

vary depending upon each Creditor’s particular circumstances. Debtor recommends that creditors



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or holders of Claims obtain independent tax counsel to advise them as to the tax consequences of

the Plan.




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                              VII.     LEGAL REQUIREMENTS



        A. Voting procedures
Under the Bankruptcy Code, the only classes that are entitled to vote to accept or reject a
plan are classes of claims, or equity interest, that are impaired under the plan. Accordingly,
classes of claims or interests that are not impaired are not entitled to vote on the plan.

Creditors that hold claims in more than one impaired class are entitled to vote separately
in each class. Such a creditor will receive a separate ballot for all of its claims in each class (in
accordance with the records of the Clerk of the Court) and should complete and sign each ballot
separately. A creditor who asserts a claim in more than one class and who has not been provided
with sufficient ballots may photocopy the ballot received and file multiple ballots.


Votes on the plan will be counted only with respect to claims: (a) that are listed on the
Debtor's Schedules of Assets and Liabilities other than as disputed, contingent or unliquidated;
or(b) for which a proof of claim was filed on or before the bar date set by the Court for the filing
of proofs of claim (except for certain claims expressly excluded from that bar date or which are
allowed by Court order). However, any vote by a holder of a claim will not be counted if such
claim has been disallowed or is the subject of an unresolved objection, absent an order of the
Court allowing such claim for voting purposes pursuant to 11 U.S.C. § 502 and Bankruptcy Rule
3018.

Voting on the plan by each holder of a claim or interest in an impaired class is important.
After carefully reviewing the plan and disclosure statement, each holder of such a claim or
interest should vote on the enclosed ballot either to accept or to reject the plan, and then return
the ballot by mail to the debtor's attorney by the deadline previously established by the court.

Any ballot that does not appropriately indicate acceptance or rejection of the plan will not
be counted.

A ballot that is not received by the deadline will not be counted.

If a ballot is damaged, lost, or missing, a replacement ballot may be obtained by sending a
written request to the debtor's attorney.

B. Acceptance
The Bankruptcy Code defines acceptance of a plan by an impaired class of claims as
acceptance by the holders of at least two-thirds in dollar amount, and more than one-half in
number, of the claims of that class which actually cast ballots. The Bankruptcy Code defines
acceptance of a plan by an impaired class of equity interests as acceptance by holders of at least
two-thirds in number of the equity interests of that class that actually cast ballots. If no creditor
or interest holder in an impaired class votes, then that class has not accepted the plan.

C. Confirmation
11 U.S.C. § 1129(a) establishes conditions for the confirmation of a plan. These conditions
are too numerous and detailed to be fully explained here. Parties are encouraged to seek
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independent legal counsel to answer any questions concerning the Chapter 11 process.
Among the several conditions for confirmation of a plan under 11 U.S.C. § 1129(a) are
these:

1. Each class of impaired creditors and interest must accept the plan, as described in
paragraph VII.B., above.

2. Either each holder of a claim or interest in a class must accept the plan, or the plan
must provide at least as much value as would be received upon liquidation under
Chapter 7 of the Bankruptcy Code.

D. Modification
The debtor reserves the right to modify or withdraw the plan at any time before confirmation.

E. Effect of confirmation
If the plan is confirmed by the Court:

1. Its terms are binding on the debtor, all creditors, shareholders and other parties in
interest, regardless of whether they have accepted the plan.

2. Except as provided in the plan and in 11 U.S.C. § 1141(d):

(a) In the case of a corporation that is reorganizing and continuing business:
(1) All claims and interests will be discharged.
(2) Creditors and shareholders will be prohibited from asserting their
claims against or interest in the debtor or its assets.

(b) In the case of a corporation that is liquidating and not continuing its
business:
(1) Claims and interests will not be discharged.
(2) Creditors and shareholders will not be prohibited from asserting
their claims against or interests in the debtor or its assets.

(c) In the case of an individual or husband and wife:
(1) Claims will be discharged, except as provided in 11 U.S.C. §§ 523 and 1141(d).
(2) Creditors will be prohibited from asserting their claims except as to those debts which are
not discharged or dischargeable under 11 U.S.C. §§ 523 and 1141(d)).

Because the case is a reorganizing business, Section E. 2(a) above applies and 2(b) and 2(c) do
not apply.




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                                    DEBTOR

                                    By:       ____/s/ George Shammas_______
                                              George Shammas, Principal



Dated: 1/8/2018




Prepared By:



By: /s/ Robert N. Bassel
Robert N. Bassel (P 48420)
Attorneys for Debtor
P.O. Box T
Clinton, MI 49236
248.835.7683




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                          EQUITY CONTRIBUTION AGREEMENT


      This Equity Contribution Agreement made as of this___ day of _________ 2018, by and
between _______________________________, a person/corporation (described in this
Agreement as “Purchaser”), and Debtor.

         WHEREAS:

        A.    The Debtor is in bankruptcy proceedings currently pending before the United
States Bankruptcy Court for the Eastern District of Michigan.

        B.       Under the terms of the Debtor's Plan, in certain circumstances, all of the equity
Interests (as defined in the Plan hereafter the “Interests”) in the Debtor will be canceled, and
such Interests in the Debtor are to be sold to Purchaser or some other entity organized by the
Purchaser for the aggregate sum of ______________, unless higher cash offers are received for
the Interests in accordance with the Plan.

        C.      The Debtor has conducted the required auction relating to the sale of the Interests
under the Plan, and the parties to this Agreement are the parties obligated to purchase the
Interests of the Debtor under the Plan.

        D.      Purchaser will, under the terms of this Agreement, become the owner of the
Interests.

        NOW THEREFORE in consideration of the mutual covenants herein contained, and
other good and valuable consideration, now paid by each of the parties hereto to the other, the
receipt and sufficiency of which is hereby acknowledged, the parties to this Agreement agree
each with the other as follows:

                                  ARTICLE I - DEFINITIONS

         1.01    Defined Terms

                Whenever used in this Agreement, the following words, phrases and expressions
shall have the following meanings:

                 "Interests" shall mean the equity interests of the Debtor as defined in the Plan.

                 "Filing Date" shall mean the date of the filing of the Case.

                 "New Equity Interests" shall mean the Interests in the Reorganized Debtor as the
same may exist immediately after the confirmation of the Plan in accordance with the terms of
the Plan and the terms of this Agreement.

              "Plan" shall mean the Chapter 11 Plan filed by Debtor, together with any
amendments or modifications of the same.


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                "Reorganized Debtor" shall mean the Debtor as it may exist after the
confirmation of the Plan


                                ARTICLE 2 - THE PURCHASE

         2.01    Payment

                 On the Effective Date of the Plan, Purchaser shall pay to the Debtor the sum of
$             , in exchange for the Interests in the Reorganized Debtor. All other payments
hereunder shall be in cash, and transferred to the Debtor by certified funds or wire transfer as
instructed by the Debtor. No party to this Agreement shall be allowed to setoff the amount of its
claim against the Debtor in the Debtor's bankruptcy proceeding against any amount payable
hereunder.

       2.02     Use of Proceeds

       Purchaser acknowledges and agrees that the proceeds paid to the Debtor under the
provisions of Article 2.01 hereof shall be used by the Debtor to satisfy the obligations under the
terms of the Plan with respect to the Claims described in the Plan, and together with funds in the
Debtor's possession shall be used to satisfy other Claims under Article 2 of the Plan and for
general business purposes.

       2.03     Assumption of Plan Obligations

       Purchaser does hereby agree to assume all obligations of the Plan upon and after
confirmation of the Plan.


                  ARTICLE 3 - REPRESENTATIONS AND WARRANTIES

       Purchaser acknowledges that Debtor is relying on the following representations and
warranties of the others in entering into this Agreement and each specifically represents and
warrants to the others that:

       (a)      Due Organization and Corporate Authority

       If Purchaser is a corporation, it is a corporation duly organized, validly existing and in
good standing under the laws of the State of      .

       (b)      Authorization

       If Purchaser is a corporation, the execution, delivery and performance of this Agreement
have been duly authorized by all necessary corporate action on its part.

       (c)      Consents

      No consent, approval, authorization or order of, and no filing with or notification to, any
domestic or foreign governmental agency, body, regulatory authority, bureau, commission or
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instrumentality, or other person or entity (including, without limitation, persons or entities
having contractual relationships with the Purchaser) is required to be made or obtained in
connection with the execution, delivery and performance of this Agreement.

       (d)     Absence of Conflicts

        The execution, delivery and performance of this Agreement is not prohibited by, and
does not violate, any provision or result in the breach of (a) the certificate of incorporation or
bylaws of the Purchaser, if it is a corporation, or (b) any contract, indenture, agreement, lease or
license relating to the businesses of the Purchaser and to which the Purchaser is a party or by
which it or its properties or assets are bound.

       (e)     Due Execution and Enforceability

        This Agreement has been duly executed and delivered by the Purchaser and constitutes a
legal, valid and binding obligation of the Purchaser.

       (f)     Survival of Representations and Warranties

       The representations and warranties provided for herein shall be true and correct on the
Confirmation Date as if then made and shall, together with all other covenants herein, survive the
execution hereof and the Confirmation Date.


                                   ARTICLE 4 - GENERAL

       4.01    Successors

      This Agreement shall be binding upon and shall inure to the benefit of the parties to this
Agreement, their successors and their permitted assigns.

       4.02    Time of the Essence

       Time shall be of the essence of this Agreement and the transactions contemplated hereby.

       4.03    Severability

        The invalidity of any provision of this Agreement or any covenant herein contained on
the part of any party shall not affect the validity of any other provision or covenant contained in
this Agreement.

       4.04    Interpretation

        The division of this Agreement into Articles and Sections and the insertion of headings
are for convenience of reference only and shall not affect the construction or interpretation of
this Agreement. The terms "this Agreement", "hereof", "herein", "hereunder" and similar
expressions refer to this Agreement and not to any particular Article, Section or other portion
hereof.

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       4.05    Entire Agreement

       This Agreement, the Plan and any applicable Final Order entered by the Bankruptcy
Court constitutes the entire agreement between the parties respecting the subject matter hereof.
There are not and shall not be any oral statements, representations, warranties, undertakings or
agreements between the parties. This Agreement may not be amended or modified in any respect
except by written instruments signed by the duly authorized representatives of the parties to this
Agreement.

       4.06    Governing Law

        This Agreement has been entered into and delivered and shall be construed in
accordance with and governed by the applicable laws of the State of Michigan and federal laws
of the United States of America applicable therein without reference to its conflict of laws
principles.

       4.07    Assignment

        This Agreement may not be assigned, in whole or in part, by any party to this
Agreement without the prior written consent of the other party hereto, which consent may be
granted or withheld in the sole discretion of the consenting party.

        IN WITNESS WHEREOF the parties hereto have executed this Agreement as of the
date and year first above written.


DEBTOR                                              PURCHASER


By: ________________________                        By: __________________________


Its:                                                Its: __________________________




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                LIQUIDATION ANALYSIS AS OF PETITION DATE

COLLATE         SECURED AND            MARKET VALUE/              APPROXIM          EQUITY
RAL             PRIORITY               FORCED SALE                ATE
                CREDITOR               VALUE1 based on            AMOUNT
                [based on filed        appraised values           OF
                proofs of claim        where applicable           SECURED/P
                and scheduled                                     RIORITY
                claims]                                           CLAIMS
Real Estate,    First Priority         250,000 (M)                $2,500            0 (M)
fixtures, All   Secured                100,000 (FS)                                 0(FS) [after
personalty      Claimant:Wayne                                                      taking into
[other than     County/City of                                                      account all
as indicated    Brownstown                                                          liens]
below]; The
collateral is
the property
located at
32240 W.
Jefferson,
Rockwood,
MI 48173
Real Estate,    Second Priority        250,000 (M)                Asserting     0 (M)
fixtures, all   Secured Claimant:      100,000 (FS)               claim of      0(FS)
personalty      Chemical Bank                                     $379,000, of
[other than                                                       which
as indicated                                                      $247,500 is
below]; The                                                       secured and
collateral is                                                     $131,500 is
the property                                                      unsecured per
located at                                                        11 U.S.C.
32240 W.                                                          §506
Jefferson,
Rockwood,
MI 48173
Personal        First Priority Roy     4,500 (M)                  Asserting         0 (M)
Property,       Livengood              2,225 (FS)                 claim of          0(FS)
inventory                                                         $4,500, all of
subject to                                                        which is
purchase                                                          secured per
money                                                             11 U.S.C.
security                                                          §506
interest


1
  Unless otherwise stated, values are not based upon appraisals and are estimated by Debtor’s
principals based upon their experience in the real estate/convenience industry.
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TOTAL                               255000 (M)                               $0 (M)
                                    102,225 (FS)                             $0 (FS)




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Post-Petition Liabilities
     Administrative Claim [estimated]:               $5,000.00


Pre-Petition Liabilities

      Secured Claims:                           $255,000

      Priority Clams                            $200,000

      Unsecured Claims [estimated]:                  $131,500



Distribution of Proceeds of Assets in Event of Liquidation

         Gross Proceeds from Liquidation:           $255,000 (assuming reorg value
          realized)
       Less Total of:
      -- Secured Claims:                      $equal to value of collateral
                Priority Claims               $200,000

      -- Admin. Expenses:                     $5,000.00
            ____________________
          TOTAL:                              $negative

         Proceeds Available to Pre-Petition
          Unsecured Creditors:                             $0
         Total Unsecured Claims [estimated]               $131,500
         Percent Available to Pre-Petition
          Unsecured Creditors:                             0%

         Proceeds Available for Equity Interests:                residual




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Prepetition Financials Patio

                    2014           2015             2016
Gross Receipts      702,384        778,005          915,260
Cost of Goods       582,782        638,635          736,263
Sold
Other Income        68,148         70,861           68,846
Total Income        187,750        210,231          248,203

Compensation of     10,031         3,762            0
Officers
Salaries and        10,806         20,388           53,284
Wages
Repairs and         6,235          13,055           3,945
maintenance

Taxes and           45,703         43,071           62,877
Licenses
Interest            23,902         15,979           15,981
Depreciation        1,890          1,890            1,890
Other deductions    67,706         55,939           56,872
Total Deductions    166,273        154,084          194,849

Ordinary            21,477         56,147           53,354
Business Income




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Patio Postpetition Financials




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                           September 2017         October 2017        November 2017

                                                                      66,518.36
Sales                      76,806.70              77265.72

Cost of Goods Sold         62,758.53              62,386.34           56,610.36
Gross Profit               14,048.17              14,879.38           9,908


Officer Compensation       1000                   800                 800
Salaries & Wages           875.00                 700                 700
                                                                      250.66
Payroll Taxes              169.34                 169.34
Sales Taxes                3,642.25               3662.26             3490.04
Insurance                  568.00                 568.00              568.00
Water                      657.08                                     262.54
Utilities                  1,851.96               2110.03             2018.65
                                                                      152.50
Rental Equipment           156.55                 152.50
                                                                      278.20
Repairs & Maintenance      2,175.00               496.60
Supplies                   579.26                 427.65              465.21
Telephone                  242.03
Alarm                      38.99                  38.99               38.99
Credit card fees           978.26                 1135.12             1110.01
Postage
                           49                     20                  29
Water                                                                 262.54
Bookkeeper                                                            500
                                                  500
USTrustee
                                                  325                 650
Commissions
                                                  1855                1867.27
Garbage
                           71.49                  200.65              72.28

Apartment Rental Misc.
                           900
Commissions
                                                  900                 900



Other Income: Lottery
Comm                       2,850.55               2935                2027.55
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Net Income                 6619.51                9355.14               3726.02
Patio Projections




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                 Patio Market, Inc.
                                                                               Projection of Income & Expenses- Plan Payments

                                                     Month       Month               Month                 Month         Month             Month          Month          Month
                                                      1            2          3               4              5             6                 7              8              9
INCOME
Sales & Commissions                                  73,200.00   73,200.00   73,200.00       73,200.00     73,200.00      73,200.00         73,200.00     73,200.00      73,200.00
Less Cost of Goods                                   60,400.00   60,400.00   60,400.00       60,400.00     60,400.00      60,400.00         60,400.00     60,400.00      60,400.00
Gross Profit                                         12,800.00   12,800.00   12,800.00       12,800.00     12,800.00      12,800.00         12,800.00     12,800.00      12,800.00

EXPENSES
Bookkeeping                                              90.00       90.00       90.00           90.00         90.00          90.00             90.00         90.00          90.00
Bank & CC Charges                                     1,100.00    1,100.00    1,100.00        1,100.00      1,100.00       1,100.00          1,100.00      1,100.00       1,100.00
Insurance                                               560.00      560.00      560.00          560.00        560.00         560.00            560.00        560.00         560.00
Licenses                                                150.00      150.00      150.00          150.00        150.00         150.00            150.00        150.00         150.00
Alarm                                                    40.00       40.00       40.00           40.00         40.00          40.00             40.00         40.00          40.00
Postage                                                  65.00       65.00       65.00           65.00         65.00          65.00             65.00         65.00          65.00
Repairs                                                 200.00      200.00      200.00          200.00        200.00         200.00            200.00        200.00         200.00
Supplies                                                180.00      180.00      180.00          180.00        180.00         180.00            180.00        180.00         180.00
Telephone                                               180.00      180.00      180.00          180.00        180.00         180.00            180.00        180.00         180.00
Utilities                                             1,700.00    1,700.00    1,700.00        1,700.00      1,700.00       1,700.00          1,700.00      1,700.00       1,700.00
Salaries                                              3,665.00    3,665.00    3,665.00        3,665.00      3,665.00       3,665.00          3,665.00      3,665.00       3,665.00
Real Estate Taxes                                       840.00      840.00      840.00          840.00        840.00         840.00            840.00        840.00         840.00
Personal Property Tax                                    50.00       50.00       50.00           50.00         50.00          50.00             50.00         50.00          50.00
Total Operating Exp                                   8,820.00    8,820.00    8,820.00        8,820.00      8,820.00       8,820.00          8,820.00      8,820.00       8,820.00

Money Available for Plan Payments                     3,980.00    3,980.00    3,980.00        3,980.00      3,980.00       3,980.00          3,980.00      3,980.00       3,980.00


                 Plan Payments
Class Chemical Bank                                   2,030.03    2,030.03   2,030.03         2,030.03      2,030.03       2,030.03         2,030.03       2,030.03       2,030.03
Class General Unsecureds                                 54.71       54.71         54.71           54.71       54.71             54.71         54.71          54.71          54.71
Class Roy Littlegood                                    100.00      100.00        100.00          100.00      100.00            100.00        100.00         100.00         100.00
Group State of Michigan                               1,793.71    1,793.71   1,793.71         1,793.71      1,793.71       1,793.71         1,793.71       1,793.71       1,793.71
Class Wayne County                                      515.10      515.10     515.10           515.10        515.10           0.00             0.00           0.00           0.00
Total Plan Payments                                   4,493.55    4,493.55   4,493.55         4,493.55      4,493.55       3,978.45         3,978.45       3,978.45       3,978.45
                     Cash Flow
Monthly Cash Flow                                      -513.55     -513.55    -513.55          -513.55       -513.55              1.55             1.55           1.55           1.55
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000            9,486.45    8,972.90    8,459.35        7,945.80      7,432.25       7,433.80          7,435.35      7,436.90       7,438.45




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                 Patio Market, Inc.


                                                     Month          Month          Month           Month          Month          Month         Month       Month       Month
                                                      10             11             12              13             14             15            16          17          18
INCOME
Sales & Commissions                                  73,200.00      73,200.00      73,200.00        73,200.00     73,200.00      73,200.00     73,200.00   73,200.00   73,200.00
Less Cost of Goods                                   60,400.00      60,400.00      60,400.00        60,400.00     60,400.00      60,400.00     60,400.00   60,400.00   60,400.00
Gross Profit                                         12,800.00      12,800.00      12,800.00        12,800.00     12,800.00      12,800.00     12,800.00   12,800.00   12,800.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00            90.00         90.00          90.00         90.00       90.00       90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00         1,100.00      1,100.00       1,100.00      1,100.00    1,100.00    1,100.00
Insurance                                               560.00         560.00         560.00           560.00        560.00         560.00        560.00      560.00      560.00
Licenses                                                150.00         150.00         150.00           150.00        150.00         150.00        150.00      150.00      150.00
Alarm                                                    40.00          40.00          40.00            40.00         40.00          40.00         40.00       40.00       40.00
Postage                                                  65.00          65.00          65.00            65.00         65.00          65.00         65.00       65.00       65.00
Repairs                                                 200.00         200.00         200.00           200.00        200.00         200.00        200.00      200.00      200.00
Supplies                                                180.00         180.00         180.00           180.00        180.00         180.00        180.00      180.00      180.00
Telephone                                               180.00         180.00         180.00           180.00        180.00         180.00        180.00      180.00      180.00
Utilities                                             1,700.00       1,700.00       1,700.00         1,700.00      1,700.00       1,700.00      1,700.00    1,700.00    1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00         3,665.00      3,665.00       3,665.00      3,665.00    3,665.00    3,665.00
Real Estate Taxes                                       840.00         840.00         840.00           840.00        840.00         840.00        840.00      840.00      840.00
Personal Property Tax                                    50.00          50.00          50.00            50.00         50.00          50.00         50.00       50.00       50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00         8,820.00      8,820.00       8,820.00      8,820.00    8,820.00    8,820.00

Money Available for Plan Payments                     3,980.00       3,980.00       3,980.00         3,980.00      3,980.00       3,980.00      3,980.00    3,980.00    3,980.00


                 Plan Payments
Class Chemical Bank                                   2,030.03       2,030.03       2,030.03        2,030.03       2,030.03       1,826.36      1,826.36    1,826.36    1,826.36
Class General Unsecureds                                 54.71          54.71          54.71           54.71          54.71          54.71         54.71       54.71       54.71
Class Roy Littlegood                                    100.00         100.00         100.00          100.00         100.00         100.00        100.00      100.00      100.00
Group State of Michigan                               1,793.71       1,793.71       1,793.71        1,793.71       1,793.71       1,793.71      1,793.71    1,793.71    1,793.71
Class Wayne County                                        0.00           0.00           0.00            0.00           0.00           0.00          0.00        0.00        0.00
Total Plan Payments                                   3,978.45       3,978.45       3,978.45        3,978.45       3,978.45       3,774.78      3,774.78    3,774.78    3,774.78
                     Cash Flow
Monthly Cash Flow                                            1.55           1.55           1.55            1.55           1.55      205.22        205.22      205.22      205.22
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000            7,440.00       7,441.55       7,443.10         7,444.65      7,446.20       7,651.42      7,856.64    8,061.86    8,267.08




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                 Patio Market, Inc.


                                                     Month       Month       Month        Month        Month       Month         Month        Month          Month
                                                      19          20          21           22           23          24            25           26             27
INCOME
Sales & Commissions                                  73,200.00   73,200.00   73,200.00     73,200.00   73,200.00   73,200.00     73,200.00    73,200.00      73,200.00
Less Cost of Goods                                   60,400.00   60,400.00   60,400.00     60,400.00   60,400.00   60,400.00     60,400.00    60,400.00      60,400.00
Gross Profit                                         12,800.00   12,800.00   12,800.00     12,800.00   12,800.00   12,800.00     12,800.00    12,800.00      12,800.00

EXPENSES
Bookkeeping                                              90.00       90.00       90.00         90.00       90.00       90.00         90.00        90.00          90.00
Bank & CC Charges                                     1,100.00    1,100.00    1,100.00      1,100.00    1,100.00    1,100.00      1,100.00     1,100.00       1,100.00
Insurance                                               560.00      560.00      560.00        560.00      560.00      560.00        560.00       560.00         560.00
Licenses                                                150.00      150.00      150.00        150.00      150.00      150.00        150.00       150.00         150.00
Alarm                                                    40.00       40.00       40.00         40.00       40.00       40.00         40.00        40.00          40.00
Postage                                                  65.00       65.00       65.00         65.00       65.00       65.00         65.00        65.00          65.00
Repairs                                                 200.00      200.00      200.00        200.00      200.00      200.00        200.00       200.00         200.00
Supplies                                                180.00      180.00      180.00        180.00      180.00      180.00        180.00       180.00         180.00
Telephone                                               180.00      180.00      180.00        180.00      180.00      180.00        180.00       180.00         180.00
Utilities                                             1,700.00    1,700.00    1,700.00      1,700.00    1,700.00    1,700.00      1,700.00     1,700.00       1,700.00
Salaries                                              3,665.00    3,665.00    3,665.00      3,665.00    3,665.00    3,665.00      3,665.00     3,665.00       3,665.00
Real Estate Taxes                                       840.00      840.00      840.00        840.00      840.00      840.00        840.00       840.00         840.00
Personal Property Tax                                    50.00       50.00       50.00         50.00       50.00       50.00         50.00        50.00          50.00
Total Operating Exp                                   8,820.00    8,820.00    8,820.00      8,820.00    8,820.00    8,820.00      8,820.00     8,820.00       8,820.00

Money Available for Plan Payments                     3,980.00    3,980.00    3,980.00      3,980.00    3,980.00    3,980.00      3,980.00     3,980.00       3,980.00


                 Plan Payments
Class Chemical Bank                                   1,826.36    1,826.36    1,826.36     1,826.36     1,826.36    1,826.36      1,826.36     1,826.36       1,826.36
Class General Unsecureds                                 54.71       54.71       54.71        54.71        54.71       54.71         54.71        54.71          54.71
Class Roy Littlegood                                    100.00      100.00      100.00       100.00       100.00      100.00      2,052.00            0.00           0.00
Group State of Michigan                               1,793.71    1,793.71    1,793.71     1,793.71     1,793.71    1,793.71      1,793.71     1,793.71       1,793.71
Class Wayne County                                        0.00        0.00        0.00         0.00         0.00        0.00          0.00         0.00           0.00
Total Plan Payments                                   3,774.78    3,774.78    3,774.78     3,774.78     3,774.78    3,774.78      5,726.78     3,674.78       3,674.78
                     Cash Flow
Monthly Cash Flow                                       205.22      205.22      205.22       205.22       205.22      205.22      -1,746.78      305.22         305.22
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000            8,472.30    8,677.52    8,882.74      9,087.96    9,293.18    9,498.40      7,751.62     8,056.84       8,362.06




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                                                     Month          Month          Month           Month          Month          Month            Month          Month          Month
                                                      28             29             30              31             32             33               34             35             36
INCOME
Sales & Commissions                                  73,200.00      75,000.00      75,000.00        75,000.00     75,000.00      75,000.00        75,000.00      75,000.00      75,000.00
Less Cost of Goods                                   60,400.00      61,200.00      61,200.00        61,200.00     61,200.00      61,200.00        61,200.00      61,200.00      61,200.00
Gross Profit                                         12,800.00      13,800.00      13,800.00        13,800.00     13,800.00      13,800.00        13,800.00      13,800.00      13,800.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00            90.00         90.00          90.00            90.00          90.00          90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00         1,100.00      1,100.00       1,100.00         1,100.00       1,100.00       1,100.00
Insurance                                               560.00         560.00         560.00           560.00        560.00         560.00           560.00         560.00         560.00
Licenses                                                150.00         150.00         150.00           150.00        150.00         150.00           150.00         150.00         150.00
Alarm                                                    40.00          40.00          40.00            40.00         40.00          40.00            40.00          40.00          40.00
Postage                                                  65.00          65.00          65.00            65.00         65.00          65.00            65.00          65.00          65.00
Repairs                                                 200.00         200.00         200.00           200.00        200.00         200.00           200.00         200.00         200.00
Supplies                                                180.00         180.00         180.00           180.00        180.00         180.00           180.00         180.00         180.00
Telephone                                               180.00         180.00         180.00           180.00        180.00         180.00           180.00         180.00         180.00
Utilities                                             1,700.00       1,700.00       1,700.00         1,700.00      1,700.00       1,700.00         1,700.00       1,700.00       1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00         3,665.00      3,665.00       3,665.00         3,665.00       3,665.00       3,665.00
Real Estate Taxes                                       840.00         840.00         840.00           840.00        840.00         840.00           840.00         840.00         840.00
Personal Property Tax                                    50.00          50.00          50.00            50.00         50.00          50.00            50.00          50.00          50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00         8,820.00      8,820.00       8,820.00         8,820.00       8,820.00       8,820.00

Money Available for Plan Payments                     3,980.00       4,980.00       4,980.00         4,980.00      4,980.00       4,980.00         4,980.00       4,980.00       4,980.00


                 Plan Payments
Class Chemical Bank                                   1,826.36       1,826.36       1,826.36         1,826.36      1,826.36       1,826.36         1,826.36       1,826.36       1,826.36
Class General Unsecureds                                 54.71          54.71          54.71           54.71          54.71          54.71            54.71          54.71          54.71
Class Roy Littlegood                                         0.00           0.00           0.00            0.00           0.00           0.00             0.00           0.00           0.00
Group State of Michigan                               1,793.71       1,793.71       1,793.71         1,793.71      1,793.71       1,793.71         1,793.71       1,793.71       1,793.71
Class Wayne County                                        0.00           0.00           0.00             0.00          0.00           0.00             0.00           0.00           0.00
Total Plan Payments                                   3,674.78       3,674.78       3,674.78         3,674.78      3,674.78       3,674.78         3,674.78       3,674.78       3,674.78
                     Cash Flow
Monthly Cash Flow                                       305.22       1,305.22       1,305.22         1,305.22      1,305.22       1,305.22         1,305.22       1,305.22       1,305.22
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000            8,667.28       9,972.50      11,277.72        12,582.94     13,888.16      15,193.38        16,498.60      17,803.82      19,109.04




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                 Patio Market, Inc.


                                                     Month          Month          Month           Month          Month          Month            Month          Month          Month
                                                      37             38             39              40             41             42               43             44             45
INCOME
Sales & Commissions                                  75,000.00      75,000.00      75,000.00        75,000.00     75,000.00      75,000.00        75,000.00      75,000.00      75,000.00
Less Cost of Goods                                   61,200.00      61,200.00      61,200.00        61,200.00     61,200.00      61,200.00        61,200.00      61,200.00      61,200.00
Gross Profit                                         13,800.00      13,800.00      13,800.00        13,800.00     13,800.00      13,800.00        13,800.00      13,800.00      13,800.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00            90.00         90.00          90.00            90.00          90.00          90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00         1,100.00      1,100.00       1,100.00         1,100.00       1,100.00       1,100.00
Insurance                                               560.00         560.00         560.00           560.00        560.00         560.00           560.00         560.00         560.00
Licenses                                                150.00         150.00         150.00           150.00        150.00         150.00           150.00         150.00         150.00
Alarm                                                    40.00          40.00          40.00            40.00         40.00          40.00            40.00          40.00          40.00
Postage                                                  65.00          65.00          65.00            65.00         65.00          65.00            65.00          65.00          65.00
Repairs                                                 200.00         200.00         200.00           200.00        200.00         200.00           200.00         200.00         200.00
Supplies                                                180.00         180.00         180.00           180.00        180.00         180.00           180.00         180.00         180.00
Telephone                                               180.00         180.00         180.00           180.00        180.00         180.00           180.00         180.00         180.00
Utilities                                             1,700.00       1,700.00       1,700.00         1,700.00      1,700.00       1,700.00         1,700.00       1,700.00       1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00         3,665.00      3,665.00       3,665.00         3,665.00       3,665.00       3,665.00
Real Estate Taxes                                       840.00         840.00         840.00           840.00        840.00         840.00           840.00         840.00         840.00
Personal Property Tax                                    50.00          50.00          50.00            50.00         50.00          50.00            50.00          50.00          50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00         8,820.00      8,820.00       8,820.00         8,820.00       8,820.00       8,820.00

Money Available for Plan Payments                     4,980.00       4,980.00       4,980.00         4,980.00      4,980.00       4,980.00         4,980.00       4,980.00       4,980.00


                 Plan Payments
Class Chemical Bank                                   1,826.36       1,826.36       1,826.36         1,826.36      1,826.36       1,826.36         1,826.36       1,826.36       1,826.36
Class General Unsecureds                                 54.71          54.71          54.71           54.71          54.71          54.71            54.71          54.71          54.71
Class Roy Littlegood                                         0.00           0.00           0.00            0.00           0.00           0.00             0.00           0.00           0.00
Group State of Michigan                               1,793.71       1,793.71       1,793.71         1,793.71      1,793.71       1,793.71         1,793.71       1,793.71       1,793.71
Class Wayne County                                        0.00           0.00           0.00             0.00          0.00           0.00             0.00           0.00           0.00
Total Plan Payments                                   3,674.78       3,674.78       3,674.78         3,674.78      3,674.78       3,674.78         3,674.78       3,674.78       3,674.78
                     Cash Flow
Monthly Cash Flow                                     1,305.22       1,305.22       1,305.22         1,305.22      1,305.22       1,305.22         1,305.22       1,305.22       1,305.22
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000           20,414.26      21,719.48      23,024.70        24,329.92     25,635.14      26,940.36        28,245.58      29,550.80      30,856.02




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                                                     Month          Month
                                                      46             47              48            49            50            51            52            53            54            55            56
INCOME
Sales & Commissions                                  75,000.00      75,000.00      75,000.00     75,000.00     77,000.00     77,000.00     77,000.00     77,000.00     77,000.00     77,000.00     77,000.00
Less Cost of Goods                                   61,200.00      61,200.00      61,200.00     61,200.00     62,800.00     62,800.00     62,800.00     62,800.00     62,800.00     62,800.00     62,800.00
Gross Profit                                         13,800.00      13,800.00      13,800.00     13,800.00     14,200.00     14,200.00     14,200.00     14,200.00     14,200.00     14,200.00     14,200.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00         90.00         90.00         90.00         90.00         90.00         90.00         90.00         90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00      1,100.00      1,100.00      1,100.00      1,100.00      1,100.00      1,100.00      1,100.00      1,100.00
Insurance                                               560.00         560.00         560.00        560.00        560.00        560.00        560.00        560.00        560.00        560.00        560.00
Licenses                                                150.00         150.00         150.00        150.00        150.00        150.00        150.00        150.00        150.00        150.00        150.00
Alarm                                                    40.00          40.00          40.00         40.00         40.00         40.00         40.00         40.00         40.00         40.00         40.00
Postage                                                  65.00          65.00          65.00         65.00         65.00         65.00         65.00         65.00         65.00         65.00         65.00
Repairs                                                 200.00         200.00         200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00
Supplies                                                180.00         180.00         180.00        180.00        180.00        180.00        180.00        180.00        180.00        180.00        180.00
Telephone                                               180.00         180.00         180.00        180.00        180.00        180.00        180.00        180.00        180.00        180.00        180.00
Utilities                                             1,700.00       1,700.00       1,700.00      1,700.00      1,700.00      1,700.00      1,700.00      1,700.00      1,700.00      1,700.00      1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00      3,665.00      3,665.00      3,665.00      3,665.00      3,665.00      3,665.00      3,665.00      3,665.00
Real Estate Taxes                                       840.00         840.00         840.00        840.00        840.00        840.00        840.00        840.00        840.00        840.00        840.00
Personal Property Tax                                    50.00          50.00          50.00         50.00         50.00         50.00         50.00         50.00         50.00         50.00         50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00      8,820.00      8,820.00      8,820.00      8,820.00      8,820.00      8,820.00      8,820.00      8,820.00

Money Available for Plan Payments                     4,980.00       4,980.00       4,980.00      4,980.00      5,380.00      5,380.00      5,380.00      5,380.00      5,380.00      5,380.00      5,380.00


                 Plan Payments
Class Chemical Bank                                   1,826.36       1,826.36       1,826.36      1,826.36      1,826.36      1,826.36      1,826.36      1,826.36      1,826.36      1,826.36      1,826.36
Class General Unsecureds                                 54.71          54.71         54.71         54.71         54.71         54.71         54.71         54.71         54.71         54.71         54.71
Class Roy Littlegood                                         0.00           0.00          0.00          0.00          0.00          0.00          0.00          0.00          0.00          0.00          0.00
Group State of Michigan                               1,793.71       1,793.71       1,793.71      1,793.71      1,793.71      1,793.71      1,793.71      1,793.71      1,793.71      1,793.71      1,793.71
Class Wayne County                                        0.00           0.00           0.00          0.00          0.00          0.00          0.00          0.00          0.00          0.00          0.00
Total Plan Payments                                   3,674.78       3,674.78       3,674.78      3,674.78      3,674.78      3,674.78      3,674.78      3,674.78      3,674.78      3,674.78      3,674.78
                     Cash Flow
Monthly Cash Flow                                     1,305.22       1,305.22       1,305.22      1,305.22      1,705.22      1,705.22      1,705.22      1,705.22      1,705.22      1,705.22      1,705.22
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000           32,161.24      33,466.46      34,771.68     36,076.90     37,782.12     39,487.34     41,192.56     42,897.78     44,603.00     46,308.22     48,013.44




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                                                       57            58            59             60            61            62            63             64            65            66            67
INCOME
Sales & Commissions                                  77,000.00     77,000.00     77,000.00      77,000.00     77,000.00     77,000.00     77,000.00      77,000.00     77,000.00     77,000.00     77,000.00
Less Cost of Goods                                   62,800.00     62,800.00     62,800.00      62,800.00     62,800.00     62,800.00     62,800.00      62,800.00     62,800.00     62,800.00     62,800.00
Gross Profit                                         14,200.00     14,200.00     14,200.00      14,200.00     14,200.00     14,200.00     14,200.00      14,200.00     14,200.00     14,200.00     14,200.00

EXPENSES
Bookkeeping                                              90.00         90.00         90.00          90.00         90.00         90.00         90.00          90.00         90.00         90.00         90.00
Bank & CC Charges                                     1,100.00      1,100.00      1,100.00       1,100.00      1,100.00      1,100.00      1,100.00       1,100.00      1,100.00      1,100.00      1,100.00
Insurance                                               560.00        560.00        560.00         560.00        560.00        560.00        560.00         560.00        560.00        560.00        560.00
Licenses                                                150.00        150.00        150.00         150.00        150.00        150.00        150.00         150.00        150.00        150.00        150.00
Alarm                                                    40.00         40.00         40.00          40.00         40.00         40.00         40.00          40.00         40.00         40.00         40.00
Postage                                                  65.00         65.00         65.00          65.00         65.00         65.00         65.00          65.00         65.00         65.00         65.00
Repairs                                                 200.00        200.00        200.00         200.00        200.00        200.00        200.00         200.00        200.00        200.00        200.00
Supplies                                                180.00        180.00        180.00         180.00        180.00        180.00        180.00         180.00        180.00        180.00        180.00
Telephone                                               180.00        180.00        180.00         180.00        180.00        180.00        180.00         180.00        180.00        180.00        180.00
Utilities                                             1,700.00      1,700.00      1,700.00       1,700.00      1,700.00      1,700.00      1,700.00       1,700.00      1,700.00      1,700.00      1,700.00
Salaries                                              3,665.00      3,665.00      3,665.00       3,665.00      3,665.00      3,665.00      3,665.00       3,665.00      3,665.00      3,665.00      3,665.00
Real Estate Taxes                                       840.00        840.00        840.00         840.00        840.00        840.00        840.00         840.00        840.00        840.00        840.00
Personal Property Tax                                    50.00         50.00         50.00          50.00         50.00         50.00         50.00          50.00         50.00         50.00         50.00
Total Operating Exp                                   8,820.00      8,820.00      8,820.00       8,820.00      8,820.00      8,820.00      8,820.00       8,820.00      8,820.00      8,820.00      8,820.00

Money Available for Plan Payments                    5,380.00       5,380.00      5,380.00       5,380.00      5,380.00      5,380.00      5,380.00       5,380.00      5,380.00      5,380.00      5,380.00


                 Plan Payments
Class Chemical Bank                                  1,826.36       1,826.36      1,826.36     193,427.67            0.00          0.00          0.00           0.00          0.00          0.00          0.00
Class General Unsecureds                                54.71         54.71         54.71           54.71        54.71         54.71         54.71          54.71         54.71         54.71         54.71
Class Roy Littlegood                                        0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00
Group State of Michigan                              1,793.71       1,793.71      1,793.71       1,793.71      1,793.71      1,793.71      1,793.71       1,793.71      1,793.71      1,793.71      1,793.71
Class Wayne County                                       0.00           0.00          0.00           0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00
Total Plan Payments                                  3,674.78       3,674.78      3,674.78     195,276.09      1,848.42      1,848.42      1,848.42       1,848.42      1,848.42      1,848.42      1,848.42
                     Cash Flow
Monthly Cash Flow                                    1,705.22       1,705.22      1,705.22 -189,896.09         3,531.58      3,531.58      3,531.58       3,531.58      3,531.58      3,531.58      3,531.58
Financing/Sale                                                                              193,427.67
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000       49,718.66         51,423.88     53,129.10      56,660.68     60,192.26     63,723.84     67,255.42      70,787.00     74,318.58     77,850.16     81,381.74




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                                                       68            69            70            71            72             73             74             75             76             77             78
INCOME
Sales & Commissions                                  77,000.00     77,000.00     77,000.00     77,000.00     77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00
Less Cost of Goods                                   62,800.00     62,800.00     62,800.00     62,800.00     62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00
Gross Profit                                         14,200.00     14,200.00     14,200.00     14,200.00     14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00

EXPENSES
Bookkeeping                                              90.00         90.00         90.00         90.00         90.00          90.00          90.00          90.00          90.00          90.00          90.00
Bank & CC Charges                                     1,100.00      1,100.00      1,100.00      1,100.00      1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00
Insurance                                               560.00        560.00        560.00        560.00        560.00         560.00         560.00         560.00         560.00         560.00         560.00
Licenses                                                150.00        150.00        150.00        150.00        150.00         150.00         150.00         150.00         150.00         150.00         150.00
Alarm                                                    40.00         40.00         40.00         40.00         40.00          40.00          40.00          40.00          40.00          40.00          40.00
Postage                                                  65.00         65.00         65.00         65.00         65.00          65.00          65.00          65.00          65.00          65.00          65.00
Repairs                                                 200.00        200.00        200.00        200.00        200.00         200.00         200.00         200.00         200.00         200.00         200.00
Supplies                                                180.00        180.00        180.00        180.00        180.00         180.00         180.00         180.00         180.00         180.00         180.00
Telephone                                               180.00        180.00        180.00        180.00        180.00         180.00         180.00         180.00         180.00         180.00         180.00
Utilities                                             1,700.00      1,700.00      1,700.00      1,700.00      1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00
Salaries                                              3,665.00      3,665.00      3,665.00      3,665.00      3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00
Real Estate Taxes                                       840.00        840.00        840.00        840.00        840.00         840.00         840.00         840.00         840.00         840.00         840.00
Personal Property Tax                                    50.00         50.00         50.00         50.00         50.00          50.00          50.00          50.00          50.00          50.00          50.00
Total Operating Exp                                   8,820.00      8,820.00      8,820.00      8,820.00      8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00

Money Available for Plan Payments                    5,380.00       5,380.00      5,380.00      5,380.00      5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00


                 Plan Payments
Class Chemical Bank                                         0.00          0.00          0.00          0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00
Class General Unsecureds                                54.71         54.71         54.71         54.71         54.71          54.71          54.71          54.71          54.71          54.71          54.71
Class Roy Littlegood                                        0.00          0.00          0.00          0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00
Group State of Michigan                              1,793.71       1,793.71      1,793.71      1,793.71      1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71
Class Wayne County                                       0.00           0.00          0.00          0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00
Total Plan Payments                                  1,848.42       1,848.42      1,848.42      1,848.42      1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42
                     Cash Flow
Monthly Cash Flow                                    3,531.58       3,531.58      3,531.58      3,531.58      3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000       84,913.32         88,444.90     91,976.48     95,508.06     99,039.64     102,571.22     106,102.80     109,634.38     113,165.96     116,697.54     120,229.12




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                                                       79             80             81             82             83             84             85             86             87             88             89
INCOME
Sales & Commissions                                  77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00
Less Cost of Goods                                   62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00
Gross Profit                                         14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00          90.00          90.00          90.00          90.00          90.00          90.00          90.00          90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00
Insurance                                               560.00         560.00         560.00         560.00         560.00         560.00         560.00         560.00         560.00         560.00         560.00
Licenses                                                150.00         150.00         150.00         150.00         150.00         150.00         150.00         150.00         150.00         150.00         150.00
Alarm                                                    40.00          40.00          40.00          40.00          40.00          40.00          40.00          40.00          40.00          40.00          40.00
Postage                                                  65.00          65.00          65.00          65.00          65.00          65.00          65.00          65.00          65.00          65.00          65.00
Repairs                                                 200.00         200.00         200.00         200.00         200.00         200.00         200.00         200.00         200.00         200.00         200.00
Supplies                                                180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00
Telephone                                               180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00         180.00
Utilities                                             1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00
Real Estate Taxes                                       840.00         840.00         840.00         840.00         840.00         840.00         840.00         840.00         840.00         840.00         840.00
Personal Property Tax                                    50.00          50.00          50.00          50.00          50.00          50.00          50.00          50.00          50.00          50.00          50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00

Money Available for Plan Payments                    5,380.00        5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00


                 Plan Payments
Class Chemical Bank                                         0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00
Class General Unsecureds                                54.71          54.71          54.71          54.71          54.71          54.71          54.71          54.71          54.71          54.71          54.71
Class Roy Littlegood                                        0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00
Group State of Michigan                              1,793.71        1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71
Class Wayne County                                       0.00            0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00
Total Plan Payments                                  1,848.42        1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42
                     Cash Flow
Monthly Cash Flow                                    3,531.58        3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000       123,760.70        127,292.28     130,823.86     134,355.44     137,887.02     141,418.60     144,950.18     148,481.76     152,013.34     155,544.92     159,076.50




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                 Patio Market, Inc.




                                                       90             91             92             93             94             95             96
INCOME
Sales & Commissions                                  77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00      77,000.00
Less Cost of Goods                                   62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00      62,800.00
Gross Profit                                         14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00      14,200.00

EXPENSES
Bookkeeping                                              90.00          90.00          90.00          90.00          90.00          90.00          90.00
Bank & CC Charges                                     1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00       1,100.00
Insurance                                               560.00         560.00         560.00         560.00         560.00         560.00         560.00
Licenses                                                150.00         150.00         150.00         150.00         150.00         150.00         150.00
Alarm                                                    40.00          40.00          40.00          40.00          40.00          40.00          40.00
Postage                                                  65.00          65.00          65.00          65.00          65.00          65.00          65.00
Repairs                                                 200.00         200.00         200.00         200.00         200.00         200.00         200.00
Supplies                                                180.00         180.00         180.00         180.00         180.00         180.00         180.00
Telephone                                               180.00         180.00         180.00         180.00         180.00         180.00         180.00
Utilities                                             1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00       1,700.00
Salaries                                              3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00       3,665.00
Real Estate Taxes                                       840.00         840.00         840.00         840.00         840.00         840.00         840.00
Personal Property Tax                                    50.00          50.00          50.00          50.00          50.00          50.00          50.00
Total Operating Exp                                   8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00       8,820.00

Money Available for Plan Payments                    5,380.00        5,380.00       5,380.00       5,380.00       5,380.00       5,380.00       5,380.00


                 Plan Payments
Class Chemical Bank                                         0.00           0.00           0.00           0.00           0.00           0.00           0.00
Class General Unsecureds                                54.71          54.71          54.71          54.71          54.71          54.71          54.71
Class Roy Littlegood                                        0.00           0.00           0.00           0.00           0.00           0.00           0.00
Group State of Michigan                              1,793.71        1,793.71       1,793.71       1,793.71       1,793.71       1,793.71       1,793.71
Class Wayne County                                       0.00            0.00           0.00           0.00           0.00           0.00           0.00
Total Plan Payments                                  1,848.42        1,848.42       1,848.42       1,848.42       1,848.42       1,848.42       1,848.42
                     Cash Flow
Monthly Cash Flow                                    3,531.58        3,531.58       3,531.58       3,531.58       3,531.58       3,531.58       3,531.58
Financing/Sale
Cash Position after Payment of Plan Payments,
assuming starting cash position of $10,000       162,608.08        166,139.66     169,671.24     173,202.82     176,734.40     180,265.98     183,797.56




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